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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                           Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

               Defendant.


   GOVERNMENT’S MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully moves for leave to file under seal the attached response to defendant Manafort's

second supplemental memorandum to motion for reconsideration of conditions of release (ECF

No. 179-1), which was itself filed under seal with leave of the Court. See 2/19/2018 Minute Order.

The government’s response addresses financial information that appears in that sealed filing, as

well as additional information the Court has ordered to be sealed. To preserve the confidentiality

of that information, the government therefore requests that its response also be filed under seal,

with a redacted version to be submitted on the public docket following Manafort’s submission of

a redacted version of his second supplemental filing. A proposed order accompanies this motion.

                                                    Respectfully submitted,

                                                    ROBERT S. MUELLER III
                                                    Special Counsel

Dated: February 20, 2018                     By:    __/s/__Andrew Weissmann___
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